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       Exhibit A
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K. THOR EELLS                                             705 South Nevada Avenue
                                                          Colorado Springs, Colorado 80903
                                                                     Phone: (719) 444-7254


EXPERIENCE:

COLORADO SPRINGS POLICE DEPARTMENT

March 2015 – Present                      Commander, Patrol-Falcon

    Assigned as the Patrol Bureau, Falcon Division Commander. Responsible for delivering
    basic police services to the northern community of Colorado Springs to include patrol,
    traffic enforcement and property crime investigations. Managed and participated in the
    development and administration of the division budget. Monitored and evaluated the
    efficiency and effectiveness of the police services. Member of the department’s senior
    command staff involved in planning, coordinating and reviewing projects, methods and
    procedures impacting police services.

 July 2014 – March 2015                   Commander, Professional Standards

    Assigned as commander for the Office of Professional Standards Division. Responsible
    for Planning/Research and Grants Unit; Public Information Office; Community Relations
    Unit; Commission on Accreditation for Law Enforcement (CALEA); Internal Affairs; and
    the Training Academy. Oversee the department’s Critical Incident Review process as
    necessary. Manage the review, creation and implementation of departmental General
    Orders and Standard Operating Procedures.

 March 2011 – July 2014                   Commander, Metro-VNI

    Assigned as commander for the multi-jurisdictional Metro Vice, Narcotics, and
    Intelligence Division. Responsible for overseeing the enforcement of laws pertaining to
    vice, liquor, and narcotics in El Paso and Teller Counties. Oversee federal task force
    officers assigned to the F.B.I., D.E.A., and A.T.F., ensuring that cooperative and successful
    relationships are maintained and enhanced. Responsible for the Strategic Information
    Center, ensuring that crime analysis and intelligence led policing practices are
    implemented and followed, thereby promoting the department’s ability to effectively meet
    its strategic goals.

  August 2008 – March 2011                Commander, Patrol-Falcon

    Assigned as the Patrol Bureau, Falcon Division Commander. Responsible for delivering
    basic police services to the northern community of Colorado Springs to include patrol,
    traffic enforcement and property crime investigations. Managed and participated in the
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   development and administration of the division budget. Monitored and evaluated the
   efficiency and effectiveness of the police services. Member of the department’s senior
   command staff involved in planning, coordinating and reviewing projects, methods and
   procedures impacting police services.


August 2007 - August 2008                Commander, S.E.D.

   Assigned as Commander of the Specialized Enforcement Division. Responsible for the
   department’s highly specialized units, to include S.W.A.T., K-9, EOD, Air Support Unit,
   Traffic Enforcement, Special Events, Code Enforcement and Airport Police Unit. Managed
   and participated in the development and administration of the division budget. Responded
   to and assumed command of various critical incidents ensuring proper police response and
   tactics. Member of the department’s senior command staff involved in planning,
   coordinating and reviewing projects, methods and procedures impacting police services.


March 2005 - August 2007                 Lieutenant, S.E.D. - Tactical Operations

   Assigned as department’s Commander of Tactical Operations Section. Section included
   S.W.A.T., Canines, Explosives Ordinance Disposal, and the Air Support Unit. Responsible
   for overseeing critical incidents to include hostage taking, barricaded gunmen, high-risk
   warrant service, civil disturbances, bomb threats, and other major incidents that may occur.
   Functioned as department’s representative for WMD and terrorist response with regard to
   coordination and planning with other local, county, state and federal agencies. Acted as
   department’s Less Lethal Coordinator. One of two primary instructors for the department’s
   Ethical Based Leadership training program. Primary instructor in Tactical Decision
   Making for department’s Training Academy.

April 2004 - March 2005                  Lieutenant, Patrol - Falcon

   Assigned to Patrol Bureau, Falcon Division. Served as Watch Commander overseeing first
   line supervisors and all police services during shift. Acted as department’s Less Lethal
   Coordinator. Served as one of two primary instructors for department’s Ethical Based
   Leadership training program and primary instructor in Tactical Decision Making for
   department’s Training Academy.

April 2003 - April 2004                  Sergeant, Investigations - Robbery

   Assigned to Investigations Bureau, Major Crimes Unit. Provided supervision for 8-18
   detectives who were responsible for investigating robberies, assaults and homicides.
   Served as the department’s representative to Senate Bill 94 Oversight Committee.
   Developed and implemented TASER less lethal program for department. Assigned as Less
   Lethal Coordinator for the department, responsible for reviewing all use of force, with
   specific focus on less lethal options.
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January 2002 - April 2003               Sergeant, S.E.D. - Airport

   Assigned to Operations Support Bureau, Central Division, Airport Police Unit as Shift 2/3
   supervisor. Provided supervision for 13 officers. Responsible for budget management and
   execution. Worked collaboratively with airport management and Federal law enforcement
   agencies to insure proper implementation of new security mandates post 9/11. Successfully
   increased unit manpower to meet growing needs of unit. Authored two policies pertaining
   to specialty impact munitions and conducted energy weapons as a member of departmental
   committee on Less Lethal Force.

January 2000 - December 2001            Sergeant, Patrol - Falcon

   Assigned to Patrol Bureau, Falcon Division. Responsible for collaborative supervision of
   20 police officers in delivering police services. Performed traditional role of Watch
   Commander, responding to citizen complaints, manpower issues. Coordinated Liquor
   Enforcement teams and supervised a federally funded liquor enforcement grant.
   Functioned as a Field Training Sergeant providing supervision to FTOs and recruit officers.
   Provided initial Active Shooter training to patrol officers prior to formalized in-service
   training. Developed and utilized lesson plan on Tactical Decision Making. Instructed this
   lesson plan at CSPD Training Academy.

July 1999-December 1999                 Sergeant, Patrol - Gold Hills

   Assigned to the Patrol Bureau, Gold Hills Division. Responsible for collaborative
   supervision of 20 police officers in delivering police services. Performed traditional role
   of Watch Commander, responding to citizen complaints, manpower issues. Functioned as
   Field Training Sergeant providing supervision to FTOs and recruit officers. Assisted in
   providing training in tactics and O.C. spray as needed at the CSPD Training Academy.


August – December 1999                  Lead Instructor Mobile Field                   Force
                                        Training (Gold Hills Division)

   Provided crowd control/civil disturbance management training to 78 police officers,
   including the use of O.C., smoke, and chemical agents.

January 1995 – July 1999                Tactical Enforcement Unit: S.E.D.

   Assigned to the SWAT team. Responded to barricaded suspects; hostage rescue; VIP
   security; execution of high-risk warrants. Primarily assigned to entry team. Performed
   duties as team training officer, organizing and instructing the team on various topics.
   Coordinated and instructed in the department’s annual SWAT school. Established team
   training fund from fees collected following CSPD sponsored SWAT School. Trained over
   100 officers in the use of O.C., chemical munitions, and special tactics. Acted as team
   sergeant on several occasions in the absence of team supervisor. Participated in over 400
   successful SWAT operations to include hostage rescue, barricaded gunmen, high-risk
   warrant service, crowd control and civil disturbances. Practical experience in the
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     deployment of O.C. and chemical agents on small and large-scale operations. Planned,
     coordinated and supervised VIP details for dignitaries.

  May 1993 - December 1994                 Detective Bureau: Major Crimes

     Assigned to the Major Crimes Unit. Responsible for investigating homicides, sexual
     assaults and child abuse. Reviewed and followed up criminal cases. Prepared and executed
     search/arrest warrants. Served as Acting Sergeant reviewing and assigning cases as needed.
     Acted as advisory witness to the D.A.’s office in major cases. Served as a special grand
     jury investigator on several occasions. Functioned as a member of the Colorado Child
     Death Review Committee. Instructed medical and legal professionals in the detection of
     child abuse at a local and regional level.




  February 1987 - May 1993                 Patrol Bureau

     Assignments included: Sector Patrol, Nevada Avenue Detail, In-service Instructor,
     GangNet Officer, and Field Training Officer.

  April 1992                               CSPD Training Academy

     Training Academy Instructor. Assigned to teach recruit officers first responder medical
     training. Prepared and utilized lesson plans for training.

  April - June 1991                        Temporary Duty Assignment

     Theft/Auto Burglary Unit (T.A.B.U.)
     Assignments included: follow-up on case reports, initiation of cases, search/arrest warrant
     preparation and execution, case filings, and surveillance. Subjected to frequent call-outs.




National Tactical Officers Association

     Adjunct Instructor:           January 2000 - Present

     Instruct tactical officers in multiple types of training, to include basic and advanced SWAT,
     hostage rescue, high-risk warrant service and command supervision. One of the primary
     instructors for the Command and Supervision class.
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    Board of Directors:          January 2010 – Present

    Serve as Western Regional Director, and chairman of the board, representing the
    membership and their interests, as well as the BOD in official NTOA business. Acted as a
    tactical representative to the Department of Homeland Security and FEMA on a variety of
    SWAT related topics.




Expert Witness Recognition and Testimony

   2013

           Lisa Kilmer vs. City of Torrington et al
           Civil Action No. 12-CV-270-8, provided expert witness services on Use of Force,
           And Arrest control techniques. Written report.

   2010

           Tricia Wachsmuth vs. City of Powell et al
           Civil Action No. 10-CV-041J, provided expert witness services on Use of Force,
           Warrant Service, training and distraction devices. Deposition and Trial testimony.

    2012

           Campbell, Womack and Campbell-Ortega vs. Lewis, Simpson & City of Lubbock
           Civil Action No. 5-11-CV-0016-C, provided expert witness services on Use of
           Force, Arrest control and non-lethal devices. Deposition testimony.

   2015
           Tamara Davies vs. City of Lakewood, et al
           Civil Action No. 14-CV-02185-RBJ-BNB, provided expert witness services on the
           The Use of Force, Command Supervision, Training, and Policies and Procedures.
           Deposition testimony.
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EDUCATION:

    University of Colorado, Denver
    Master of Criminal Justice
    Graduated 2000

    University of Colorado, Colorado Springs
    Bachelor of Arts Degree: Major in Political Science
    Graduated 1986

    Coronado High School, Colorado Springs
    High School Diploma
    Graduated 1980

SPECIAL TRAINING:

    FBI National Academy, Quantico VA
    Graduated 2009

    Bureau of Justice Intelligence Commanders Course
    Completed 2011



    FBI Hazardous Devices School Bomb Commanders Course
    Completed 2006

    Center for Creative Leadership-Leadership Development Program
    Completed 2005


      N.T.O.A. SWAT Supervisor and Management Training               240
      CONTOMS Paramedic/Tactical Training                             50
      Paramedic - Colorado State Certified                          1500
      Crowd Control Unit                                              48
      S.W.A.T. Training                                             2500
      N.T.O.A. Incident and Tactical Command Post Operations           8
      N.T.O.A. Training Management and Risk Mitigation for SWAT       16
      Street Gang Seminar                                             40
      Field Training Officer                                          48
      C.L.E.T.A. Instructor – Certified                               80
      P.O.S.T. Instructor – Certified                                 80
      F.B.I. Hostage Negotiator Course                                40
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       I.A.C.P. Dignitary Protection                                              40
       P.O.S.T. Firearms Instructor                                               40
       Basic Instructor Less Lethal Munitions:                                    40
       O.C., chemical agents, specialty impact munitions and distraction d
       Master Instructor Less Lethal Munitions                                    40
       TASER Instructor                                                           40
       FBI Arrest Control Instructor                                              80
       NIMS ICS Training (700,800,100.200,300,400)                                36
       FEMA Integrated Emergency Management Course                                32

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AWARDS AND COMMENDATIONS:
         Achievement Awards (2)
         Written Commendations (11)
         Commanders Commendations (4)
         2007- NTOA John Kolman National Award for Excellence
         2007- CSPD Distinguished Service Award
         2003 - CSPD Patrol Bureau Leadership Award
         1996 - CSPD Officer of the Month (August)
         1996 – CSPD Life Saving Medal
         1992 - CSPD Officer of the Month (July)
         1992 - Northside Rotary Club Officer of the Month (November)
         1992 - Northside Rotary Club Officer of the Year
         1991 - CSPD Life Saving Medal
         1989 - CSPD Life Saving Medal
         1987 - CSPD Life Saving Medal


Publications:
         Manual- SWAT Standards for Law Enforcement, National Tactical Officers Association
                 (NTOA), 2008, 2011 and 2015. NTOA website.
